       Case 2:17-cr-00182-TOR          ECF No. 68      filed 09/20/18    PageID.177 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,                                 Case No. 2:17-CR-0182-TOR-2

                                 Plaintiff,               CRIMINAL MINUTES

                   vs.                                    DATE: 9/20/2018

DAVID R BISHOP JR,                                        LOCATION: Spokane

                                 Defendants.               CHANGE OF PLEA

                                    CHIEF JUDGE THOMAS O. RICE

Linda Hansen                                                                      Ronelle Corbey

Courtroom Deputy                Law Clerk                     Interpreter         Court Reporter

Patrick Cashman                                         Amy Rubin

Plaintiff's Counsel                                     Defendant's Counsel
    [ X ] Open Court                                          [ X ] US Probation Officer: Shawn Kennicutt

Defendant present not in custody of the US Marshal.

An original signed Plea Agreement was provided to the Court.

Oath administered to defendant for change of plea. Defendant confirmed his true and correct name.

The Court advised the defendant of rights given up by entering a guilty plea including the right to a jury trial.
The Court confirmed defendant’s understanding of the elements and facts depicted in the Plea Agreement,
which would need to be proven to obtain a conviction. The Court advised the defendant that he will be giving
up certain rights to appeal.

Defendant pleaded guilty to Count 2 of the Indictment and the Court accepted his plea. The Court finds the
defendant fully competent and aware of the charges against him; and that he knowingly and voluntarily
entered into the Plea Agreement.

The Court ordered a presentence investigation report and set sentencing set for 2/19/2019 at 9:00 am.

Defendant shall continue on the previously imposed conditions of release.

CONVENED: 11:31 AM          ADJOURNED: 11:42 AM         TIME: 11 MINS           ORDER FORTHCOMING [ X ]
